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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 JOHN DOE,                                               §
     Plaintiff,                                          §
                                                         §
  v.                                                     §
                                                         §
  TEXAS A&M UNIVERSITY, DAYNA                            §
  FORD, as agent for Texas A&M                           §
  University, ROBIN SHUGLIE, as agent                    §
  for Texas A&M University, GLENN                        §
  STARNES, as agent for Texas A&M                        §       CIVIL ACTION NO. 4:17-cv-02500
  University, MIKE DULKE, as agent for                   §              JURY DEMAND
  Texas A&M University, KYLE                             §
  MCCRACKEN, as agent for Texas A&M                      §
  University, TERRI ALLISON, as agent for                §
  Texas A&M University, JOSHUA                           §
  ISRINGHAUSEN, as agent for Texas                       §
  A&M University, DALE NORRIS, as                        §
  agent for Texas A&M University, and                    §
  ANNE REBER, as agent for Texas A&M                     §
  University,                                            §
        Defendants.                                      §


                           JOINT ADVISORY TO THE COURT AND
                          MOTION TO FURTHER ABATE DEADLINES


        Discussions about potential resolution have continued to be productive, and the parties

would like to further collaborate before incurring additional attorney fees. The parties have

scheduled a full-day mediation of this matter for December 5, 2018. In the interest of efficiency

and judicial economy, Counsel jointly request an abatement until Friday, January 18, 2018, of all

deadlines in the case, specifically including the deadline for Plaintiff’s Response to Defendants’

Motion to Dismiss.




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Respectfully submitted,

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